Case 1:01-cv-12257-PBS Document 7619-1 Filed 06/24/11 Page 1 of 5




                 Exhibit 1
     Case 1:01-cv-12257-PBS Document 7619-1 Filed 06/24/11 Page 2 of 5


                                                                           Page 1
            IN THE UNITED STATES DISTRICT COURT
             FOR THE DISTRICT OF MASSACHUSETTS


IN RE:                            )
                                  )   CA No. 01-12257-PBS
PHARMACEUTICAL INDUSTRY AVERAGE   )
WHOLESALE PRICE LITIGATION        )   Pages 1 - 87
                                  )




                    SETTLEMENT HEARING

            BEFORE THE HONORABLE PATTI B. SARIS
               UNITED STATES DISTRICT JUDGE




                           United States District Court
                           1 Courthouse Way, Courtroom 19
                           Boston, Massachusetts
                           June 13, 2011, 2:20 p.m.




                      LEE A. MARZILLI
                  OFFICIAL COURT REPORTER
               United States District Court
                1 Courthouse Way, Room 7200
                     Boston, MA 02210
                       (617)345-6787




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        Case 1:01-cv-12257-PBS Document 7619-1 Filed 06/24/11 Page 3 of 5


                                                                             Page 38
 1   it clear:     From our point of view, that goes away.          There are
 2   going to be no cy pres funds, there are no conflict of
 3   interests.     It's gone.
 4               MR. HAVILAND:   Well, the latter part I don't agree
 5   with because I don't think that you can just simply look from a
 6   "Monday morning quarterback" perspective back in time and say
 7   there was no conflict.      In the process of litigating the case,
 8   for all the period of time that there was no consumer
 9   representative, you had these associations, and most
10   importantly you had PAL at the table negotiating as the proxy
11   for consumers.     And we have a problem with that.         We have a
12   problem with the Health Care for All entity being at the table.
13   There was no advocate -- and I know my fellow objectors
14   agree -- no one who understood the consumer case in that room
15   advocating just for them.
16               THE COURT:   Why, why?
17               MR. HAVILAND:   Why?
18               THE COURT:   They understand it better than these older
19   people.     I mean, if you came down and just did some reality
20   play, these older folks are sick and old.          And they are
21   probably very well-intentioned, yours as well as -- some of
22   yours did some pretty poor deposition answers too.             And I'm not
23   faulting any of them; they're probably doing the best they can.
24   But the associations understand it.
25               MR. HAVILAND:   Well, what the consumers understand



                                                                 74d21743-9b43-4b78-9475-0e39fbd0275a
        Case 1:01-cv-12257-PBS Document 7619-1 Filed 06/24/11 Page 4 of 5


                                                                             Page 45
 1   this case in settlement is now, because if you let it go, then
 2   it will go on for years and years --
 3               THE COURT:   So your bottom line is, there's no class,
 4   right?
 5               MR. HAVILAND:   There's no class.
 6               THE COURT:   Right.   So your bottom line is that no one
 7   gets a penny?
 8               MR. HAVILAND:   My bottom line is:       This case can't be
 9   settled.     That's my bottom line right here.
10               THE COURT:   Right, nobody gets a penny, that's what
11   you want.
12               MR. HAVILAND:   No, that's not what I want, your Honor.
13   What I want to do is go through with you what these folks have
14   done so that we could try to parse that.          I think they put
15   something up for Amgen.      And you're going to be challenged now,
16   Judge, what do you do about Amgen because you've been given a
17   blind settlement.
18               THE COURT:   Say it again now?
19               MR. HAVILAND:   Amgen, one of the defendants.
20   Mr. Barely is here.
21               THE COURT:   I missed the point, I'm sorry.
22               MR. HAVILAND:   The point is -- let me just go through
23   these representatives with you, if I may, because the brief
24   period for the motion is not for another day, but we have today
25   to talk about these folks.



                                                                 74d21743-9b43-4b78-9475-0e39fbd0275a
        Case 1:01-cv-12257-PBS Document 7619-1 Filed 06/24/11 Page 5 of 5


                                                                             Page 51
 1   litigation --
 2             THE COURT:    You withdrew from everything, didn't you?
 3             MR. HAVILAND:     They filed affidavits asking to have me
 4   serve as counsel, yes --
 5             THE COURT:    You withdrew from --
 6             MR. HAVILAND:     -- and you deemed that a withdrawal.
 7             THE COURT:    Excuse me.      We went through this game last
 8   time.
 9             MR. HAVILAND:     We did.
10             THE COURT:    You did, thank you.       So it's not an option
11   for me, right?    You withdrew.       So, I mean, I have what I have,
12   and they'll either pass muster or not pass muster.             And if they
13   do pass muster, they've made the payment; I will allow them to
14   be class reps.    I am worried a little bit about how late this
15   is, and that's just a legal question that I'm going to have to
16   grapple with.
17             MR. HAVILAND:     And I want you to know, from our
18   perspective, we've not found one case where substitution was
19   allowed post-settlement because the policy implications of
20   that --
21             THE COURT:    Excuse me.      Can I ask you this.
22             MR. HAVILAND:     Yes.
23             THE COURT:    Did you find any that -- we actually came
24   up with a blank -- did you find any that denied substitution so
25   late?



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